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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. TDC-19-200
                                                *
 ERIC EOIN MARQUES,                             *
                                                *
                Defendant.                      *
                                                *
                                             *******

         CONSENT MOTION FOR PRELIMINARY ORDER OF FORFEITURE

       The United States of America, by its attorney, Jonathan F. Lenzner, Acting United States

Attorney for the District of Maryland, respectfully moves this Court for the issuance of a

Preliminary Order of Forfeiture in the above-captioned case pursuant to 18 U.S.C. § 2253 and

Rule 32.2(b) of the Federal Rules of Criminal Procedure. A proposed Preliminary Order of

Forfeiture is submitted herewith. In support thereof, the United States sets forth the following:

       1.       On April 17, 2019, a federal grand jury in the District of Maryland filed an

Indictment charging Eric Eoin Marques (the “Defendant”) with Conspiracy to Advertise Child

Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) (Count One), Conspiracy to Distribute

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1) (Count Two), Advertising

Child Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) (Count Three), and Distribution of

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2) (Count Four). ECF No. 29.

       2.       The Indictment also included a forfeiture allegation, pursuant to 18 U.S.C. § 2253

and 21 U.S.C. § 853(p), which provided notice that the United States intended to seek the

forfeiture, upon conviction of the Defendant, of the offenses alleged in Counts One through Four

of the Indictment.
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       3.       On or about February 6, 2020, the Defendant pled guilty to the offense alleged in

Count One of the Indictment and without limitation on the Government’s right to forfeit all

property subject to forfeiture as permitted by law, agreed to forfeit to the United States all right,

title and interest in the following items that the Defendant agreed constitute money, property,

and/or assets derived from or obtained by the Defendant as a result of, or used to facilitate the

commission of, the Defendant’s offenses:

                (a) $154,422.61 in U.S. currency in the form of a money judgment, with credit
                    given for the funds administratively forfeited by the FBI on or about March
                    13, 2015 (Asset IDs 13-FBI-006178 and 13-FBI-006179); and

                (b) any and all electronic devices containing child pornography recovered during
                    Irish law enforcement’s execution of search warrants on July 29, 2013 from
                    the Defendant’s residence, the Defendant’s vehicle or the Defendant’s
                    mother’s residence.1

       4.       In support of his guilty plea, the Defendant executed a Stipulation of Facts in

which the Defendant admitted that he conspired to advertise child exploitation materials

(“CEM”) with various site administrators and users who hosted and used CEM websites through

Freedom Hosting, an anonymous hosting service the Defendant controlled. The Defendant

stated his business had been very successful and he earned a substantial amount of money from



1 Subsequent investigation revealed that the following items seized during the execution of
those search warrants are not subject to forfeiture:

       (1) one Iomega external hard drive, Model: LDHD-UP, bearing serial number
           97AW500CC6;
       (2) one Nexus One cellphone; Model PB9100, bearing serial number
           HT9CRP802946, IMEI: 354957030614781;
       (3) one Samsung Galaxy GT-I9505 cellphone; bearing serial number
           RF1D45QYXMJ, IMEI: 356845/05/314658/3 containing one SIM card and
           one generic 4GB microSD card; and
       (4) one Samsung GT-I19100 Galaxy SII, bearing serial number RF1C27BMD9N,
           IMEI: 352166/05/246595/5 containing one SIM card bearing serial number
           12291021433.



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his endeavors. As part of his plea agreement, the Defendant agreed to forfeit $154,422.61,

which represents the value of the property derived from his offense.

       5.       Pursuant to 18 U.S.C. § 2253, and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a forfeiture money judgment in the

amount of $154,422.61 in U.S. currency against the Defendant, with credit given for the funds

administratively forfeited by the FBI on or about March 13, 2015 (Asset IDs 13-FBI-006178 and

13-FBI-006179).

       6.       Further, the United States may move at any time, pursuant to Rule 32.2(e)(1)(B)

of the Federal Rules of Criminal Procedure and 21 U.S.C. § 853(p), to forfeit any property of the

defendant up to the value of the forfeiture money judgment included in the Preliminary Order of

Forfeiture. Upon issuance of any order forfeiting specific property, the United States will

publish notice in accordance with 21 U.S.C. § 853(n)(1) and Rule 32.2(b)(6) of the Federal Rules

of Criminal Procedure.

       7.       The United States also seeks permission to conduct any discovery that might be

necessary to identify, locate, or dispose of forfeited property, pursuant to Rule 32.2(b)(3) of the

Federal Rules of Criminal Procedure and 21 U.S.C. § 853(m).

       WHEREFORE, the United States requests that this Court:

       (a)      enter the Preliminary Order of Forfeiture in the form submitted herewith;

       (b)      include the forfeiture, as set forth in the Preliminary Order of Forfeiture, in the

oral pronouncement of the Defendant’s sentence;

       (c)      retain jurisdiction for the purpose of enforcing the forfeiture; and

       (d)      incorporate the Preliminary Order of Forfeiture in the criminal judgment entered

against the Defendant, pursuant to Federal Rule of Criminal Procedure 32.2(b)(4).




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                                  Respectfully submitted,

                                  Jonathan F. Lenzner
                                  Acting United States Attorney

                           By:    /s/
                                  Thomas M. Sullivan
                                  Assistant United States Attorney




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                                  CERTIFICATE OF SERVICE

       I hereby certify that the foregoing Motion for Preliminary Order of Forfeiture, as well as

the proposed Preliminary Order of Forfeiture, were filed through the Electronic Case Filing

system and will be sent electronically to the registered participants as identified on the Notice of

Electronic Filing.


                                                      /s/
                                                      Thomas M. Sullivan
                                                      Assistant United States Attorney




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                        IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF MARYLAND

 UNITED STATES OF AMERICA                       *
                                                *
        v.                                      *    CRIMINAL NO. TDC-19-200
                                                *
 ERIC EOIN MARQUES,                             *
                                                *
                Defendant                       *
                                                *
                                             *******

                     CONSENT PRELIMINARY ORDER OF FORFEITURE

       WHEREAS, on April 17, 2019, a federal grand jury in the District of Maryland filed an

Indictment charging Eric Eoin Marques (the “Defendant”) with Conspiracy to Advertise Child

Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) (Count One), Conspiracy to Distribute

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2) and (b)(1) (Count Two), Advertising

Child Pornography, in violation of 18 U.S.C. § 2251(d)(1)(A) (Count Three), and Distribution of

Child Pornography, in violation of 18 U.S.C. § 2252A(a)(2) (Count Four);

       WHEREAS, the Indictment also included a forfeiture allegation, pursuant to 18 U.S.C.

§ 2253 and 21 U.S.C. § 853(p), which provided notice that the United States intended to seek the

forfeiture, upon conviction of the Defendant, of the offenses alleged in Counts One through Four

of the Indictment;

       WHEREAS, on February 6, 2020, the Defendant pled guilty to the offense alleged in

Count One of the Indictment;

       WHEREAS, as part of his guilty plea, the Defendant agreed to entry of an order of

forfeiture, as part of the Defendant’s sentence, to include (a) a money judgment of at least

$154,422.61 in U.S. currency, with credit given for the funds administratively forfeited by the
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FBI on or about March 13, 2015 (Asset IDs 13-FBI-006178 and 13-FBI-006179), an amount

equal to the value of the property derived from, or otherwise involved in, the Defendant’s

offense; and (b) any and all electronic devices containing child pornography recovered during

Irish law enforcement’s execution of search warrants on July 29, 2013 from the Defendant’s

residence, the Defendant’s vehicle or the Defendant’s mother’s residence.

       WHEREAS, pursuant to 18 U.S.C. § 2253 and Rule 32.2(b)(2) of the Federal Rules of

Criminal Procedure, the United States is now entitled to a Preliminary Order of Forfeiture (a)

imposing a money judgment in the amount of $154,422.61 in U.S. currency, with credit given for

the funds administratively forfeited by the FBI on or about March 13, 2015 (Asset IDs 13-FBI-

006178 and 13-FBI-006179); and (b) for any and all electronic devices recovered during Irish

law enforcement’s execution of search warrants on July 29, 2013 from the Defendant’s

residence, the Defendant’s vehicle or the Defendant’s mother’s residence, with the exception of

the following items: (1) one Iomega external hard drive, Model: LDHD-UP, bearing serial

number 97AW500CC6; (2) one Nexus One cellphone; Model PB9100, bearing serial number

HT9CRP802946, IMEI: 354957030614781; (3) one Samsung Galaxy GT-I9505 cellphone;

bearing serial number RF1D45QYXMJ, IMEI: 356845/05/314658/3 containing one SIM card

and one generic 4GB microSD card; and (4) one Samsung GT-I19100 Galaxy SII, bearing serial

number RF1C27BMD9N, IMEI: 352166/05/246595/5 containing one SIM card bearing serial

number 12291021433.

       ACCORDINGLY, it is hereby ORDERED, ADJUDGED, AND DECREED that:

       1.       The United States’ Consent Motion for a Preliminary Order of Forfeiture is

GRANTED.




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       2.       Pursuant to 18 U.S.C. § 2253 and Rule 32.2 of the Federal Rules of Criminal

Procedure, a forfeiture money judgment in the amount of $154,422.61 in U.S. currency is hereby

entered against the Defendant.

       3.       The Defendant shall remain personally liable until the judgment is satisfied. The

value of any substitute assets shall be credited toward the satisfaction of the money judgment.

Likewise, the value of any directly forfeitable property that is forfeited as the proceeds of the

offense shall also be credited toward the satisfaction of the money judgment, but property

forfeited as property used to commit or to facilitate the commission of the offense shall not be so

credited. The Defendant shall receive credit for the funds administratively forfeited by the FBI

on or about March 13, 2015 (Asset IDs 13-FBI-006178 and 13-FBI-006179).

       4.       The United States is authorized to conduct any discovery that might be necessary

to identify, locate, or dispose of forfeited property, and to resolve any third-party petition,

pursuant to Rule 32.2(b)(3), (c)(1)(B) of the Federal Rules of Criminal Procedure and 21 U.S.C.

§ 853(m).

       5.       Pursuant to Rule 32.2(b)(6) and (c)(1), no third-party notice or ancillary

proceeding is required to the extent that this Order consists solely of a money judgment.

       6.       Pursuant to Rule 32.2(b)(4) of the Federal Rules of Criminal Procedure, this

Preliminary Order of Forfeiture will become final as to the Defendant at the time of his

sentencing, will be part of the Defendant’s criminal sentence, and will be included in the

criminal judgment entered by this Court against him.

       7.       The Court shall retain jurisdiction in this matter for the purpose of enforcing this

Order, and pursuant to Rule 32.2(e)(1) of the Federal Rules of Criminal Procedure, shall amend




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this Order, or enter other orders as necessary, to forfeit additional specific property or substitute

property when identified.



                                                       HONORABLE THEODORE D. CHUANG
                                                       UNITED STATES DISTRICT JUDGE

Dated:




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